 
 

al Case'7:14-cv-08193-NSR Document 1-5 Filed 10/14/14 Page1of32. 8

  

 

   

© ACCORDINGLY; the WCLI decision filed April 2 28; 2010 is = ARPIRMED: No further’ action if -
~ plan by the Board’ at this time. an ce a ge

  

Tee _ All conéur,

Ellen O.

 

 

       

a ‘Eduardo Morales _. Eniployer ~~
WtyNG- oo) 0) Catrier- a
oy 3B 30602220 Carrier ID No, +. WIE
"Date of Accident = -1qogi00S Cater Case'No.- |“ W. :

& . District Office  Peeksicll '. " " ‘Date of Filing of this Decision— oangiory =

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History SARS. TARGET RNP RPagument 1-5 Filed 10/14/14 Page 3 of 32
Mid Term Exain
Summer 2013

DISCLAIMER;

PLEASE NOTE 1AM DISABLED PERSON WITH LIMITED USE OF MY HANDS, DTHUS
TYPING IS VERY DIFICULT. SINCE THE TEST IS TIMED. SOME OF THIS TEXT WAS |
PREPARE IN ADVANCE; A DOCUMENT OF 24 PAGES. TAYPING IS DIFFICULT AND
DANGEROUS FOR MY NECK INJUREIS. ACCOMODATION IS JUSTIN LAST WEEK. FROM
ADA SCHOOL DEPT. |

Create Identifications for 4 of the following:

Leisler's Revelion

i's the period from 1689-1691 named Jor New Yorker Jacob Leister an ardent Protestant who
rebellion against the colonial authority of English James I alter learning of the 1688. The Celebrated
Revolution across the Atlantic,
The Covenant Chain

he Covenant Chain was several of cdalitions and treaties formulated during the 17th ecntursy.
hotween the Iroquois and the British colonies in Ainerica. with other lhdian tribes. the Englishand ”
Iroquois assembly and the folowing treaties were based on supporting peace and stability to preserve
trade. “They addressed issues of colonial sctticment. and tried t6 suppress Violence between the
colonists and Indian tribes. as well as among the tibes. from New England to the Colony of Virginia”.
The “Burned-Over Distric™

The burned-over district was the religious scene in the western and central regions of New York
in the early 19th century. where religious revivals and Pentecostal movements of the Second Great

Awakening look place.

 

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| DID LIVE NEAR ON THE BANKS OF THE CANAL, | CHOSED THIS TEXT BECAUSE JT IS

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ase 7:

 

 

 
Case 7:14-cv-08193-NSR_ Document 1-5" Filed 10/14/14 Page 5 of 32
FINGHAN {TON oo _—-Bervicws for Students
IVERST?Y¥ | with Disalilities

STa7E UAIYEESITY OF FEe PES : . Fo Box 8880
Higghar Ro mh i Rew Ya

  

   

Date: August 7, 2013
To: Professor Pearson

From:

 

Services for Students with Disabilities

Subject: Acad emic Accorimodation for studént, Edward Morales

 

The following. information is confiden sf Student rights to privacy regarditig their disability-related
feeds midst always be. respected and related information should never be shared by faculty with otter
students.

Lam writing ta you, at Edward's srequest, to verify thst é hei is registered with Services for Students with
Disabilities and to provide you with information rega ing his acadertic accommodation seeds. .
According to the documentation we Have received Edward experienced fAjuries that have left hing wath
significant neck. and back disabilities and chro Héis unable to sit for prolonged periods of tinie —
and, according t6 Kin, experiences severe pain wien he tries to write or type for extended periods.

 
 

He told ave during our July 15" intake appointment, and again on July 25", that he, did not.need any
academic accommodations for his sumnter course. He stopped in teday, however, ta let as know that
he feels he made.a mistake in declining aecomiiadations and would like to request them now.

Binghamton. University has a legal and ethical respensibility to provide for académic accommodations _
that ensure equal atcess and opportunity for studentsewith disabilities. Edward is familiar with Dragon
Naturally Speaking, a computer woice recognition pragram, and may schedule an appointment with our
Adaptive Technology Specialist to request authorization to use the Bartle Library Adaptive Technology
Room computer equipped with this software. Thank you fot your cooperation in providing the
following additional accommodations to enable hiva to participate on an equal basis with class

colleagues:

* Time and a half, to double time, in which to complete quizzes and exams in order te
acco ommadate his need to. dictate b his resporises s using Dragon Naturally Speaking and to chafige

Please feel free to speak directly with Edward or té Gall us if you Have any questions or Concerns. We
appreciate your assistance and support, Additional information regarding policy, procedures, legal
requirements and guidelines forthe appropriate provision of academic accommodations for students
with disabilities may be fourd under the “information for Faculty” link in our website at
http:y//binghamton.edu/ssd.

BUF
 

 

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ase 7

 

 

 

 

 

 

 
Case 7:14-cv-08193-NSR Document 1-5 Filed 10/14/14 Page 7 of 32

STATE OF NEW YORK : COUNTY OF WESTCHESTER
TUSTICE COURT: HARRISON = *

 

_ People of the State of. New Yark
Vs. Misdenteanor Complaint

. a.
Edward R. MORALES 110 N 3" Ave, Apt. 2M, Mount Vernon, NY 1055¢,_ DOB: 10/2/1959 a
Defend re cr

 

I, Investigator Mobley, employed by the University Police af\ Purchase, New York, by this information
makes written accusation as follows: . .

That Edward RB. Morales, on the 10th day of July, 2013, in the Town of Harrison, County of
Westchester, State of New York, did commit the offense of Aggravated Harassment in the Second Degree,
a class A misdemeanor in violation Section 240.30 Sub. 1 of the Penal Law of the State of New York, in

that he did, at the aforesaid time and place*

Count One: A person is guilty of aggravated harassment in the second degree when, with intent to harass,

amoy, threaten or alarm abother person, he or she comummicates, or calises a communication to be initiated

‘ by miechanical or electrical means or otherwise, with 8 person, andbymously or otherwise, by telephone, or

by telegraph, mail or any otber form of written communications, in a manner likely to cause annoyance, or
The facts upon which this information ts based are as follows:

The said defendant, at or about 2105 hours on the aforesaid date; at #35 Anderson Hill Road, in the Town -
of Harrison, County of Westchester, State of New York, did communicate with Daniele P. D’ Agosto by

elécironic mail (emai, with intent to harass, annoy, threaten or alatm same, in that be semi an email
messages to Danielle P. D’ Agosto stating. “When I created the term “an educated gatig”; 1 did not mean 0
offend muybody, word for word, that is what peer presstts is or becomes if not stop in time. What if] was
some nuts-crazy (which I am not), and being pushed to the end, and | take a machine gun (which I will not)
and because of school “pang-like behavior” looses all opportunities to get to law school, then they. gamish
my SSD check to pay the loans, so [ have nothing, to live for, thus, this crazy student (not me) goes out to
the school. and. 5! ri killing J ie. This sound. Jike it bas Dappen pefore.. wright?”. The said defendant's
seman st i io Make ramachine pun” “sevetart killing people”, caused Danielle P. D' Agosto
to-feartorher safety and the safety of her colleagues.

      

   

Ail contrary to the provisions of the stanite in such case made and provided.

The foregoing factual allegations are based upon the supporting deposition of Danielle P. D’Agosto {and
ampon information and belief), the sources of complainant’ s information being police mivestigation.

Verification By Subscription And Notice
Under Penal Law Section 210.45

it is a crime, punishable as a class A Misdemeanor under the Laws of the State of New York, for a person,
in and by a written instrument, to knowingly make a false statement, oF make a staternent which sien
person does not believe to be tmic.

** 4 ffirmed under penalty of perjury this
12th day of July, 2013

NYS University Police , yp LAL bis

Title or Office Compilai

=e
day of :

 
Case 7:14-cv-08193-NSR Document 1-5 Filed.10/14/14 Page 8 of 32

Criminal Form 2. si2g1d
OR] No: NSYUA9USTE .> Atatermof the Mount Veron © ity Court County of Westchester ; ;
Order Noo atthe Courthouse at 2 Roosevelt Square, Muunt Vernon NY 1G450 State of New York
SYSED No: — .
-CAUN No. ORDER OF PROPECTION

 

 

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Te a 7 . 5 . {Sol invelviny vielifis of doitiestic Vidloree}

i Heuprie ot Mie State of New YY, or ork J Youthtul Olleider (check th apy digabites

waguilint- Pari. Criminal index Dugket Ne. 23> 1194
Indichnent No. tana.

JOHN SIDNEY

Charges ° tobbury 4

Defendant  L1-03-64 U® Detend: it Present in Court
NOTH: VOL R BALLOU RE TO OBEY THIS GRDER SIA SUBIEC PE VOR TO MANDATORY ARREST AND CRIXLEN AL.
PROSECL PION. WIECH AEAY RESULT IN YOUR ENCARC ERATION FOR UP TO SEVEN VEARS FOR CONTE SEPT OE COURS
We oLES IS 4 LE MPORARY ORDER OF PROTECTION AND VOU FALE. YO APPEAR EN COL RY ATLEN VOU ARE Rie 7 IRED EO
DO SO, TES ORDER SLAY BE ENTENDEDIS YOUR - ABSENCE AND THEN CONTINUES IN EFFECT UNTEL ANEM DATE SEV

BN Vb COERE.

a TEMPORARY ORDER ©
proletien fase sendin of recogniaance Si yyulease on bail id adjoufnment in conieny nlation Of distssal |.
Mf ORDER OF PROTECTION. Where: v defendant tits been e com teted oi af [specily crime ar v rolinen |:
LEGIT LARCENY = Fle LEE BE ae
Ain the Cott bin ing made a deiraninoon in andiee wilh section 3 30.53 al the Criminal Proceduig bast.
HW ISHERERY ORDERED that thy abeve-numed defendsit observe the (atlas ig conditions of bghas tor:
(C eck applicable paragraplrs aud subparager wplis): : .
Yo Nilay away frou 7 fiomets) ol “protected peLsaiis For witnesst ent] “Edward Morales
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dieans wath [specity protected persains) § Edward Moraies .
Vo Retin fanassaul, stalking, burassment, agers ated harassment. Digna. reckless eudangernte nt, s LPC Lita, Sa

      

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vation, Greats or any erinimal ollonae or interference wilh the vicont or vicums ab. oF dusigmaigd “tines to, ihe alicued

offense ated such metnbers er huuschokl af such vichitn(s) er witiesstes} as 5 hall be specifically: Edward Morales

J) Retram (rou imtenuenally myaring or Killiig wibout justification the following companies animals) (pens jzpecits

 

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@) Muroder aay aid all he indeuns. pisiuls. revolvers, mi tes. shetwuns and other fifgarins owned of possessed. ccliddngs. but el
inisted ta. the Polhawung: cand do not obtaur ats further guus op ather

firearms, Such surrender shall take plus ree immedi: ely. “Lut no Lier than TODAY BY 4:30 PAE at Mount Verne P Glee
Department. Kuosevelt Syuare, Mount Vernan. NV LGSSUO.

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; [ds FURTHER ORDERED that the above- Tanned Deletidant’s heense tu carry, possess. repair, sell or otherwise ulfspose OF a

rear ar tireanns, Way, pursuant ta Penal Law $400 0G. is hereby Ll suspended uty revoked (note: final order only) wud or J the
De Temint shad renen mnvligible lo receive a firearm license during the period of this order. ECheck all applicable boscas. NOT:
tt this paragraph is cheeked. a copy at this form must be sent ta: New York Suite Police, Pistal Permit Section. State Campus

Buildine #22. 1220 Washingtan Avenue, Albany, New York 12226-2252. of Jf

uv 7E.

 

TUES FURTHER ORDERED Guat this order of protection shall reo lin in furee until aud including [specety date pyc
bur ab seu fail to appear i court on this date. the order may be extended urd conto in effect until a2 uew date ser ts th rere

/ baal)

{EDGE GESHEE-
" COURT (COURT SEAL)

 

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Case 7:14-Cv-08193 MPR: ROGHMRAAST AC FREE HOMA/14 Page 10 of 32
WESTCHESTER COUNTY
WESTCHESTER COL NTY COURTHOESE
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White Plaine: Sct Yurk 19507
cute) OS. Pg

 

JANET DIFFORE
DINERICT ALTORNEY

October 18, 2013

By facsimile transmission: (914) 390-4179

Hon. Nelson S. Roman, U.S.D.J.

Charles L. Brieant Ir. United States Courthouse

300 Quatropas St

White Plains, New York 10601-4150 Re: Morales v SAN ¥. etal
13-€6202886 (NSR}

Dear Judge Roman:

As a hon-party interested in maintaming the integrity of criminal prosecutions in Westchester
County, this Office respectfully requests tis Court io consider (pursuant lo Rule 3(A)Ui) of your
Individual Practices in State Cases) this letter response lo the Plaintiff's Submission (which :
plaintiff electronically served on A AG. Michael Klckman, who forwarded it to me} ofa
“request latter [sic] for pre-metion conference TO REMOVE STATE CASE™ - a prosecunon
encaptioned People of the State of New York v Kedward R. Mlorales pending in the Justice Court
of the Town of Harrison (Docket No. 130703584) upon an accusatory insirument charging
aggravated harassment in the second degree in violation of New York Penal Law 8240.30 (1):
al present, upon his demand. defendant proceeds pre se with Anthony Keoph, Esq. assigned as
his léwal advisor: he has demanded a triat and a schedule has been set for his pre-trial mations.

Plaintiil previously submitted to Unis Court what he sivied as a “Matian to Remove State Case 16
Current Aétive Federal Case; Show Cause.” which was dockeéted ait August 29. 2013. Concerned
that ils treatment as a motion could require a tiling of opposing papers within a week under the
Local Rules, | quickly responded without review ol the focal Court file by my letter faxed to the
Court on September 6, 2013. That submission was mooted by your endorsed Order on that date
that the “motion” was denied “without prejudice for failure to follow my Individual Practices.”

{now update and amend my submission of September 6, 2013 and address plaintill’s curreal
claim that it contained “intentional misleading statements.

My letter of September 6, 2013 indicated that (ye accusatory instrument charged a count ot
aggravated harassment in the second degree for “allegedly having sent several alarming emails to
the S.U.N.Y. Executive Director of Academic Programs, Danielle D'Agosta, threatening to take a
machine gun, go to the school and shoot people.” This statement quoted a synopsis of the charge
that wag sent to me an A.D.A, in our branch office in Purchase. New York. Its apparent source
was the since-provided copy af the “misdemeanor complaint” that signed by Investigator David
Mobley of the New York State University Police Department at SLLNJY, Purchase on July 12.
2013, which alleges “aa [sic] email messages” sent on that cate.
Case 7:14-cv-081933NGRE Dotument feb “Eh sjeeieits Page 11.0132 -
WESTCHESTER COUNTY

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JANET DIFIORE

DISTRICT ATTORNES

Seplember 4. 2OI3
By facsimile transmission: (914) 390-4179

Hon. Nelson 8, Roman. U.S.D J.

Charles L. Brieant Jr. United States Courthouse

300 Quarropas St

White Plains, New York 10601-4150 Re: Aforales VGN. et at
1 3-c¥-02586 (NSR)

Dear Judge Roman:

As anon-party’ interested in maintaining the integrity of criminal prosecutions in Westchester
County. this Office respectfully requests this Court to consider this ledler résponse ta the
document docketed as Entry 22 on August 29. 2013. captioned as the plaints “Motion to .
Remove State Case to Current Active Federal Case: Show Catise.”

* Plaintiff therein addresses a prosecution eneaptioned People ef rhe State of New York v Ldwerd
R. Mforales pending in the Justice Court ef the Town of Harrison, Docket Number 13070384,
before which court plaintiff was arraigned on July 30. 2013 upon an accusatory instrument
charving the class A misdemeanor of aggravated harassment iit the second degree in violabon of
New York Penal Law 8240.30 (1) for allegedly having ser several alarining emails to the
SUNY. Exeéeutive Director of Academie Programs. DanicHe D'Agosio, threatening to take a
machine gun, go to the schdol and shoot peaple.” The defendant was algo served with a nolie
pursuant to $710.20 (3) of the Criminal Procedure Law of New York of infent to offer evidence °
ot his Statements to a member of the S.ULN.Y. Purchasé Police Department on July 16, 2013,
The next scheduled appearance in that matter is on September 10. 2013.

First, while 28 ULS.C. $ 1443 (1) provides for the removal ofa civil action or criminal
prosecution from slate court to federai court. if the defendant "is denied er cantat entoree in ihe
courts of such State aright under ans law providing tor the equal rights of etuizens of the United
States, or of all persons within the jurisdiction thereol.” there is no authority whatsvever for a
“Motion lo Remove” as styled by the plainutl,

' By its endorsed Order of August 7. 2013, the Court directed that plaintiff file his requested Amended
Complaint on or before August 24.2013. By an Amended Complaint filed on August 26, 2013, plaiatdit
purported to add the “Town of Harrison” as an additional defendant without stating any basis for legal
action against that entity. While that amended complaint sas untimely. any appearance on behalf of the
Town of Harrison would be by its Town Attorney (Frank Alleggrett, Esq.) and not by this Office.

This Office was not given notice of the indicated “motion to remove” by the plainuif, and only becamie
aware of it by advice from counsel for the State defendants.
"In the criminal matter, the plaintiff was assigned Robert Brodsky Esy. as his counsel. [ have copred
Mr. Brodsky with this fetter.
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Caseée:7:44

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
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JANET DIFIORE

DISTRICT APTORNEY

OFFICE OF THE DISTRICT ATTORN EY
WESTCHESTER COUNTY
WESTCHESTER COUNTY COURTHOUSE
HE Oe Shirin Lanher Ring, Jr Rave.

Whire Plains. New York ba6dt

rE) GOS TOY

Honorable Mare J. Lust
Harrison Town Court

1 Eleineman Place

Harrison, New York 10528-3395

Re: People V Edward Morales

Dear. Sir:

Enclosed herewith, please find the People’s Affirmation in Opposition

May 1, 2014

Page 13 of 32

to the Defendant’s Motion to Dismiss Accusatory {nsirument with Memoranduat -

of Law in regard to the above-referenced matter, with proof of service thereof,

JDF:-MACzalt
Enclosure
ec: E. Morales

A. Keogh, Esq.

GREENBURGH BRANCH
“88 Tarryiown Road

White Plains, MY. 10607-1624
1914) 995-4075

MOUNT VERNON BRANCH

2 Roosevell Square
Mt Varann NOY tASan3nsa

(1 NEW ROCHELLE BRANCH
475 North Avenue
New Rocnetle, Noy. 10801-3502
{974} 813-8800

1) NORTHERN WESTCHESTER

BRANCH

DE Maen Mees

Very truly yours,

JANET DIFIORE

District Allorney of Westchester

County

Michelle A. Calvi

Assistant District Attorney

YORKTOWN BRANCH
1940 Commerce Street

Sulte 204

Yorktown Heights. NY 10598
(914) 862-5140

RYE BRANCH

3416 Westchester Avenue

c . ane

EC) WHITE PLAINS BRANCH

77 South Lexinglon Avenue
White Plains N.Y 10601-2506
(914) 422-6265

CJ YONKERS ARANCH

Cacace Justice Center
Case 7:14-cv-08193-NSR Document 1-5 Filed 10/14/14 Page 14 of 32

STATE OF NEW YORK: WESTCHESTER COUNTY
TOWN OF HARRISON JUSTICE COURT

weet cowie beet ee ea eee eee edema cece 4
THE PEOPLE OF THE STATE OF NEW YORK, . AFFIRMATION IN
OPPOSITION TO THE
DEFENDANT’S
MOTION TO DISMISS _
-against- ACCUSATORY
INSTRUMENT
Docket Number
EDWARD MORALES, 13070584
Defendant. (Lust, J.)
en nnn been ne ee be on nae ae eb ohe nena ee cee em _
STATE OF NEW YORK )
2 $5.1

COUNTY OF WESTCHESTER }

MICHELLE A. CALVI, an attorney duly admitted to practice law before the Courts of
the State of New York, affirms the following under penalty of perjury: that she is an Assistant
District Attorney of Westchester County and submits this affirmation in opposition to the
dlefendant’s pre-trial motion to dismiss thé accusatory instrument in this matter. This affirmation
is made upon information and belief, the sources of which are the file of this matter maintained
by the Office of the District Attorney.

The defendant, Edward Morales, is charged with one count of Aggravated Harassment in
the Second Degree (PL 240.30[1]}. The relevant facts are set forth in the accusatory instrument
as well as the supporting deposition of the victim in this matter, Danielle D’ Agosto.

On July 18, 2013, the defendant was arraigned in the Vestal Town Court, by Judge

Meagher, on the charge of Aggravated Harassment in the Second Degree. The defendant was
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released on his own recognizance and instructed to appear iri Harrison Town Court on July 30,
2013, js temporary order of protection was issued for the victim, Danielle D’ Agosto.

"On July 30, 2013, the defendant appeared in this Court with his assigned altorney, Robert
Brodsky, Esq. A supporting deposition given by the victim and a 710.30 notice were served
upon the defendant and filed with this Court. The defendant subsequently requested an
adjournment until September 10, 2013.

* On September 10, 2013, the defendant appeared in this Court with his assigned counsel
and stated that he wished to proceed pro se. It should be noted that Mr. Brodsky requested to be
relieved as counse}! and accordingly, Mr. Brodsky was relieved and the defendant requested a
motions schedule and a trial date. A motions schedule, to which all parties agreed, was sel.
Speciticatly, the Court ordered the defendant to subrait his motion by October 15, 2013, with the
People’s Opposition Papers due on November 7, 2013, defendant’s Reply papers due by
November 12, 2013, and an ali purpose control-decision date scheduled for November 12, 2013
(detendant’s appearance required).

On October 9, 2013, the People received the defendant’s motion papers by mail. The
deferidant’s motion sought to dismiss the accusatory instrument charging Ageravated
Harassment in the Second Degree on the ground that the accusatory instrument was facially
insufficient. On November 6, 2013, the People’s Opposition Papers were filed.

On March 12, 2014, Judge Lust delivered his Decision on Motion and denied the
defendant’s Motion to Dismiss. |
On or about April 16, 2014, the defendant served and filed the instant Motion to Dismiss,

which the Court treated as a Motion for Reconsideration, restating his argument that the
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accusatory ihstrument was facially insufficient, and further arguing that the charge of
Aggravated Harassment in the Second Degree is unconstitutional, citing Vives v The City of New
York (405 F.3d 115 [2605]) as a controlling case that ruled on the constitutionality of Néw York
Penal Law § 240.30(1).

WHEREFORE, for reasons more fully set forth in the annexed Memorandum of Law,
the defendant's motion to dismiss accusatory instruments should be denied in its entirely.

Dated: Purchase, New York
May 6, 2014

MICHELLE A. CALVI
Assistant District Attorney

 

het
Case 7:14-cv-08193-NSR Document 1-5 Filed 10/14/14 Page 17 of 32

MEMORANDUM OF LAW

THE DEFENDANT'S MOTION TO DISMISS THE ACCUSATORY

INSTRUMENT FOR ALLEGED FACIAL INSUFFICIENCY SHOULD BE

SUMMARILY DENIED.

The defendant moves to dismiss thé accusatory instrument for alleged facial insufficiency
undet CPL 170.30[1][a]. However, as previously argued, for the reasons stated below, the
defendant's motion to dismiss should be summarily denied.

Generally, the sufficiency of an accusatory instrument is determined upon a reading of
the face of the instrument itself together with any supporting depositions accompanying or filed
in connection therewith (CPL 100.20; CPL 100.40; CPL 170.35 [ljlah: vee Peaple v Casey, 93
NY2d 354, 361 [2000}}, A misdemeanor information is sufficient on its face when it is
supported by factual, non-hearsay allegations which would establish, if true, every element of the
offense charged and the defendant's commission thereof (CPL 100.40 [U][c}; CPL 100.15 [3}:
Peaple v Alejandro, 70 NY2d (33, 135 [1987]). So long as the factual, non-hearsay allegations
of the information give a defendant sufficient notice to prepare a defense and are adequately
detailed to prevent a defendant from being tried twice for the same offense, they should be given
a fair and not overly restrictive reading (People v Casey, 98 NY2d 354, 360, supra). Por
purposes of a motion to dismiss, the accusatory instrument and supporting depositions “should
be given a fair and not overly restrictive reading” (/d. at 354-55), and the People need only
establish a prima fucie case of the alleged charges (Alejandro, 70 NY¥2d at 137). In other words,
the People are not required to prove their case beyond a reasonable doubt on the four corners of

an accusatory instrument and supporting depositions. Instead, the People need only make a
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primd facie case of the charge or charges to defeat a motion to dismiss for facial insufficiency.

Here, the misdemeanor complaint charging Aggravated Harassment in the Second Degree
(PL 240.30{1]) is facially sufficient. Indeed, the accusatory instrument reads, “the said
detendant...did communicate with Danielle D’ Agosto by electronic mai! (email), with iritent to
harass. annoy, threaten or alarm same, in that he sent an email messages to Danielle P. D’Agosto
stating, “When | created the term educatéd gang; | did not mean to offend anybody; word for
word. that it was peer pressure is or becomes if not stop in time: what tf ] was some nuts-crazy
(which Lam not), and being pushed to the end. and I take a machine gun (which I will not) and
because of schoo! gang like behavior looses all opportunities to get to law school...so [have
nothing to tive for, thus this crazy student (not me) goes out lo thé schoo! and start killing
people.” The People also filed a suppofting deposition by the victim, which states, in sum and
substance, the following: “I, Danielle D’ Agosto, Executive Director of Academi¢ Program at
Purchase College, SUNY, have recently been serving as the Academic Advisor to Edward
Morales... While Lam familiar with his anger, this email in particular was cause for great alarm,
not only for my safety, but also to that of my colleagues; in the email he references machine guns
and kitling people...1 cannot take such comments lightly, for safety of myself and the Purchase
community.”

When the charges are read in conjunction with the supporting depositions, there are
sufficient, non-hearsay allegations to make out a prima facie case ler the elements of the
aforementioned charge (see People v Singh, 187 Misc2d 465 [Kings County, 2001]; see also
People v Torres, 26 Misc3d 1216(A) [New York County, 2010]). The defendant's motion seeks

to apply overly-restrictive readings to the accusatory instrument and supporting depositions, a

ly
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standard which the Court of Appeals has rejected in Causey (People v Casey, 95 NY2d at .
354[holding that accusatory instruments and depositions “should be given a fair and not overly
restrictive reading” |). Moreover, contrary to the defendant's contention. it is clear from the
victim’ s supporting deposition that the defendant's conduct caused the victim to fear for her
satéty as wel! as the safety of her colleagues and school community.

Theretore, the defendant’s motion to dismiss for facial insufficiency should be denied.
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POINT B

THE DEFENDANT'S MOTION TO DISMISS THE CHARGES AS

UNCONSTITUTIONAL ON ITS FACE SHOULD BE SUMMARILY DENIED.

The defendant contends that the case of Fives v The City of New York (405 F.3d 115
[2005]) controts the question af the constitutionality of New York Penal Law § 240.30( 1),
Augravatéd Harassment in the Second Degree, the statute under which defendant is charged.
However, for the reasons stated below, the defendant's motion to dismiss should be summarily
denied because thé instant case is factually distinguishable from the facts of Vives, and upon
analysis. ofthe Vives case and its progeny, it is clear that the Court in Fact did not ultimately
decidé the issue of the constitutionalily of PL § 240.30(1).

The relevant facts and bavkground regarding the case relied upon by the defendant ate ag
follows:

In April of 2002, defendant Carlos Vives was arrested for Aggravated Harassment in the
Second Degree, pursuant to PL § 240.30(1), for mailing a packet of newspaper clippings, copies
of stories, and written and typed statements. regarding current events involving people of the
Jewish faith. Vives had been making these packets and mailing them to thousands of pecple over
the course of 20 years. The materials were not addressed to anyone specifically, nor were they |
accompanied by personalized letters. One such packet was received by Jane Hoffman, a
candidate for New York State Lieutenant Governor, who contacted police and informed them
that she found the. material to be “alarniing and/or annoying.” Vives was arrested; however, the
District Aulorney declined to prosecute. Vives subsequently challenged the validity of his arrest

and in August of 2002, the NYCLU filed a federal civil suit in the Southern District of New
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York on behatf of Vives, claiming PL § 240,30(1) to be unconstitiiional and a violation of the
First Amendment {Vives v City of New York (305 F.Supp.2d 289 [2003], herein Vives I,

The facts of Vives differ from the instant case in the form and substance of the
communication that is the basis of the charges. Vives made packets of clippings from general
circulation newspapers and included handwritten and typed statements, but did not address any
of these materials to a specific person, nor did he include any personalized communication. He
had been mailing these packets to peopie of the Jewish faith for 20 years before a complaint was
filed. In the instant case, the defendant directly communicated with the victim via email and |
expressed comments that referred to a specific violent and unlawful act, naniiely, “what if | was
some nuis-crazy (which | am not), and being pushed to the end, and | take a machine gun (which
[ wil not) and because of school gang like behavior looses all opportunities to get to law school,
then they garnish my SSD check to pay the loans, so [have nothing to live for, thus this crazy
student (not me) goes out to the school and start killing people.” The differences in these facts
are such that the conclusions of Vives / should not apply to the instant case, and therefore does
not control the case as the defendant contends.

In Vives Vives argued that summary judgment should be granted because his arrest
was unlawful and the City of New York and police officers should be held liable for
compensatory and punitive damages. The District Court granted summary judgment for Vives,
found the City of New York liable for damages, and found PL § 240.30(1) to be unconstitutional
“to the extent that it prohibits communication, made with the intent to annoy or alarm, by
“mechanical or electronic means or otherwise, with a person, anonymously or otherwise, by

telephone or telegraph, mail or any other form of written communication, in a manner likely to
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cause annoyance or alarm.” (fe 301-2). The Court stated that although the statute “has never
before been declared unconstitutional on its face, its fate has been foreshadowed since 1985” (fe.
at 301), citing several cases that detined the issue of protected vs. unprotected speech.

The City of New York appealed. (Fives v City of New York (405 F.3d 115 [2005]), herein
ives Hand the Second Cireuit reversed the trial cout’s decision on summary judgment in favor
of Vives with respect to the issue of defendants* personal liability, but declined to rule on the
constitutionality of PL § 246.30(1). The Second Circuit called into question the cases that the
District Court alleyed had “foreshadowed” the unconstitutionality of PL § 240.30(1):

In the first case relied on by the District Court. Péople vy. Dupont, 107 A.1).2d 247, 486

N.Y.S.2d 169 (tst Dep't 1985), the Appellate Division held that section 240.30(1) was

ubconstitutional only as applied to the facts before it. People v. Dietze, 79 N.¥.2d 47, 350

N.Y.S.2d 595, 549 N.E.2d 1166 (1989), the second of the four, dealt with the

constitutionality of an entirely different penal section. The third case, Schlagler v.

Phillips, 985 F.Supp. 419 (S.D.N.Y.1997), was reversed on appeal, 166 F.3d 439 (2d

Cir.1999). And in the fourth case, People v. Mangano. 100 N.Y.2d 569, 764 N.Y.S.2d

379, 796 N.E.2d 470 (2003), the judgment was entered on July 2, 2003, more than a year

after Detectives Li and Lu arrested plaintiffon April 6, 2002. As such, rione of these

cases could possibly have served as fair notice to Detectives Li and Lu "that a declaration

of [section 240.30(1)'s] unconstitutionality was inevitable.” Vives, 305 F.Supp.2d at 303.

(Vives Hat 118.)

It is this Second Circuit decision that defendant cites in his argument for dismissal.
However, it is clear that Vives // is not grounds for dismissal of the charges for
unconstitutionality in its face. Although Judge Cardamone in his partial dissent argued that they
should have decided to affirm the District Court’s ruling on such, the official holding of the
decision did not rule on constitutionality, stating, “Because we hold that the District Court's
denial of qualified immunity to defendants was improper, we do not reach the question of
whether New York Penal Law § 240.30{1) survives constitutional scrutiny, but save that

question for another day.” (Fives [at 118.) In a concurring opinion, Judge Brandeis stated,

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~The Court will not pass upon a constitutional question although properly presented by the
record, if there is also present some other ground upon which the case may be disposed of,” and
“Principles of pidicial restraint caution us to avoid reaching constitutional questions when they
are unnecessary to the disposition of a case.” (Hives // at 119.) The statute is therefore still valid
law at the moment, so the arrest i$ constitutional on its face.
ives Hf was remanded with respect to the issue of defendant's persona} liabitity. Vives
was then granted damages in the amount of $3,300 and the City appealed (Vives v City of New
York (524 F.3d 245 [2008]) herein Vives {17) Even if this subsequent appeal is to be considered
in the instant case. it-would still not provide the Court grounds to dismiss the People’s case on its
face. The ruling of the Second Circuit is solely conceming the question of the Hability of the City
of New York for damages for enforcing a state law. The Court held that “a municipality cannot -
be held liable simply for choosing to enforce the entire Penal Law.®” {n Footnote 8, the Court
reiterates its prior refusal to decide on the constitutionality of the statute:
As we explained in Vives //, Section 240.30(1) 1s not "so erossfy and Nagrantly
unconstitutional that any person of reasonable prudence would be bound to see its
‘laws.'” 405 F.3d at 118 (quoting Connecticut ex rel Blumenthal v, Crotty, 346 F.3d 84,
103 (2d Cir.2003)). We therefore leave for another day the question of whether certain
statutes that might technically be on the books — for example, anti- miscegenation
laws—aré so obviously and deeply unconstitutional that the mere fact of their
enforcement vives rise to a strong inference that the municipality must have made a
“conscious choice" to enforce them.” (Fivey /// at 358.)

Therefore, the instant defendant's Motion to Dismiss the charges as unconstitutional

should be denied.

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POINT C

THE DEFENDANT'S MOTION TO DISMISS THE CHARGES AS

UNCONSTITUTIONAL IN ITS APPLICATION SHOULD BE SUMMARILY

DENIED.

The remaining argument that the defendant contends is that the accusations against him
were discriminatory and his statements were nol “alarming.” The question as to whether or not
the PL § 240.30(1) is valid in its application to the instant defendant is a matter of determining if
his communication with the victim constituted “fighting words”, an incitement to violence, or a
“true threat.” This, however, is ultimately a question of fact to be decided by a jury.

In Peaple v Limage (19 Misé 3d 395 [Crim Ct, Kings County 2008]), the defendant.
Major Limage, moved to dismiss two counts of Aggravated Harassment in the Second Degree,
pursuant to Penal Law § 240.30(1), stating that the charges were facially insufficient and that the
statute was unconstitutional as applied to his case. The Court denied the motion, stating in an
opinion written by Judge Cyrulnik, that the charges were facially sufficient and that the People
had met their burden in proving a prima facie case. In the instant case, Judge Lust has also ruled
that the People met their burden.

Considering the constitutionality of the statute. Judge Cyrulmk stated that defendant, who
also relied on Fives / among others, had not proven his argument that PL&§ 240.301) was
unconstitutional on its face. As for proving that the communication constituted a “true threat,’
Judge Cyrulnik cites People v Bonitto (4 Misc 3d 386 [Cum Ct, New York County 2004]: “It

must be shown that, under the circumstances, "an ordinary, reasonable recipient familiar with the

context of the communication would interpret it as a true threat of injury," whether or not the

defendant subjectively intended the communication to convey a true threat. (United States v

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Francis, Lo4 F.3d 120, 123 [2d Cir 1999].) ... Whether the threat meets this standard usually is a
question of fact for the jury (id.).” (People yv Limage. 19 Mise 3d at 400-401.) ‘The defendant's
motion was dented.

In the instant case, the defendant contends that his communication did not constitute a
‘true threat’ and therefore charges should be dismissed for the unlawtal prosecution in the
application of PL § 340.30(1). However, as in People v Limage, this is a question of fact ta be

determined by a jury and his instant Motion to Dismiss should be dented.
 

 

 

 

 

 

 

 

 

 
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by

“| TOWN COURT OF THE TOWN OF HARRISON |
' COUNTY OF WESTCHESTER: STATE OF NEW YORK

| : | DECISION ON
THE PEOPLE OF THE STATE OF NEW YORK, MOTION

Plaintiff
Docket 1307-0584

i ~ against -

EDWARD MORALES,
Defendant

__ Plaintiff moves to dismiss the accusatory instrument due to alleged facial
insufficiency and on the basis of the alleged uncoristitutionality of Penal Law
' Section 240.30(1). Plaintiffs motion is denied in all respects. The accusatory
instrument, when read in conjunction with the July 11, 2013 supporting deposition
‘| of the cémplainant, Danielle D’ Agosto, contains sufficient factual and non-hearsay
allegations so as to establish a “prime facie” case of the charges alleged (People v.
Alejandro, 70 NY2d 133(1987). Accordingly, the defendant has been provided with
sufficient notice of the charges, and all of the elements of the alleged offense need
not be proven beyond a reasonable doubt at this juncture. The fact that the e-mail
communication at issue was sent in response to 2 prior communication from the

complainant, does not serve to nuilify the dictates of Penal Law Section 240.30(1).

Furthetmofe, the moving papers fail to establish that Penal Law Section 240.30(1) is
enconstitutional, either as applied to plaintiff, or otherwise.

 

The foregoing constitutes the Decision and Order of the Court.

i Wi
| _ fp

| MARC J. LUST
Harrison Town Justice

 

 

DATED: Harrison, New York
March 12, 2014

 

MJL/dc

i} ce: Assistant District Attomey Michelle Calvi

i Edward Morales, Defendant Pro Se

Anthony Keogh, Esq., Legal Advisor for Defendant Pro Se

 

 
 

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JANET DIFIORE

DISPRICT ATTORNEY
Harrison Justice Court
i Heineman Place
Harrison, NY 10528-3305
Via Fax (14) 835-1262

Re: People v. Edward Morales
flarrison Town Court
Dear Judge ‘Last:
On May 13, 2014 ina case ent . Gaib, 2014 NY Slip Op 03426, the
New York Court of Appeals declared Pe Ut Ka) yand 240.30(1)(b) to
be vnconstiuational ‘The above veferenced defendant is charged with 1 violating Penal Law

section 240.30(1}. Based on the Court's decision in Golb, the People cannot procee ed
with a prosecution on Penal Law 240.3001) and Use charges must be dismissed.

4 saps §
tay section 240

 

. Thank you for your kind attention.

Very uly yours,
JANET DIFIORE
District Attorney

Wir ensteg A. Catr,

Michelle A. Calvi
Assistant District Atlomey
Rye Branch

uc

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Mr. Anthony Keough. Esq, ; ~

  

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Case ADE RTH OM SESPOSt PEON 1°

STATE OF NEW YORK HARRISON TOWN COURT
WESTCHESTER COUNTY CRIMINAL PART

 

PEOPLE OF THE STATE OF NEW YORK
VS.

EDWARD R. MORALES; Defendant

CASE NO: 13070584

 

 

Date of Birth: 10/02/1959 JC501 no: 66153395M
Date of Arrest: 67/16/2013 NYSID no: 048669341
Disposition Date: {of
Section Section Ticket No & 4
Charged ___ Disposed Description Disposition _ Fine Civil-Fee surchg_
PL PL Dismiss
240,30 01 240.3001 AGG HARASSMENT 6.00 0.00. 0.00

 

Upon a proper request for an official statement of disposition,
I certify that the above named defendant having appeared before
this court was charged as shown above. Each of the charges was

disposed of as indicated.

Hoh. Marc J” Lust

Dated: The 3rd day of July 2014

 

NOTE: A copy o£ the request will be filed with this certificate
in the case records.

CAUTION: This information must not be divulged if the case is
sealed or where the defendant has been adjudicated a youthful
offender.

Copies: Court, Defendant, Agency, DA
 
